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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

 

Southern District of Texas

 

 

 

 

 

 

United States of America )
Vv. )
Rogelio Rocha Jr. ) Case No.
) 5:21-MJ-2471
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 6, 2019 in the county of Webb in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841 (a) (1) Knowingly and intentionally possess with intent to distribute approximately 7

kilograms of methamphetamine.

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.

/s/ Ana Karen Robinson, TFO DEA

Complainant’s signature

 

Ana Karen Robinson, TFO DEA

Printed name and title

 

Submitted by reliable electronic means, sworn to, signature attested telephonically per Fed. R. Crim. P. 4.1:.

Date: 11/19/2021 Ln ZL. SG

Judge's signature

City and state: Laredo, Texas Christopher dos Santos, U.S Magistrate Judge
Printed name and title
 

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ATTACHMENT A

On December 6, 2019, Drug Enforcement Administration Agents (DEA) assigned to the Laredo
District Office conducted an undercover operation in which six bundles containing approximately
seven kilograms of methamphetamine were delivered to Rogelio ROCHA Jr. Before delivering the
bundles to ROCHA, DEA agents had field tested the substance within them, which had returned
a presumptive positive for methamphetamine.

On said date, at approximately 4:20 p.m., ROCHA met with an undercover agent at a truck stop
in Laredo, Texas. Upon initial contact, the undercover agent greeted ROCHA as “ROGER,” to
which ROCHA acknowledged. The undercover agent then asked ROCHA “how many he was going
to pick up?” ROCHA answered “six.” After confirming that ROCHA was there to pick up the six
bundles of methamphetamine, the undercover agent placed them inside ROCHA’s car. Prior to
driving away, ROCHA told the undercover agent that he would rather meet at his place of
employment next time because it would be safer.

After ROCHA departed, a Webb County Sheriff’s Office Deputy conducted a traffic stop on ROCHA
and located the six bundles of methamphetamine. DEA Agents approached the scene of the
traffic stop and made contact with ROCHA, who was detained and transported to the DEA office
in Laredo. At the DEA office, agents advised ROCHA of the Miranda Rights, and he agreed to
answer questions. ROCHA claimed that another individual had directed him to pick up the
methamphetamine, and that he had done so as a favor for that individual.
